Case 2:18-cv-10000-SJO-PLA Document 10 Filed 01/02/19 Page 1 of 3 Page ID #:62



  1   Wajda Law Group, APC
      Nicholas M. Wajda ( State Bar No. 259178)
  2   11400 West Olympic Boulevard, Suite 200M
  3   Los Angeles, California 90064
      Telephone: (310) 997-0471
  4   Facismile: (866) 286-8433
      Email: nick@wajdalawgroup.com
  5   Attorney for Plaintiff
  6

  7                                 UNITED STATES DISTRICT COURT
  8                            CENTRAL DISTRICT OF CALIFORNIA
  9

 10    RODNEY HANNAH                              Case No. 2:18-cv-10000- SJO-PLA
 11                    Plaintiff,                 CERTFICATE OF SERVICE
 12          v.                                   Complaint Filed: November 29, 2018
 13    JPL RECOVERY SOLUTIONS, LLC,
 14                    Defendant.
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Case 2:18-cv-10000-SJO-PLA Document 10 Filed 01/02/19 Page 2 of 3 Page ID #:63
Case 2:18-cv-10000-SJO-PLA Document 10 Filed 01/02/19 Page 3 of 3 Page ID #:64
